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                       Exhibit 1
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------x
                                                                 21 MC 97 (AKH)
IN RE SEPTEMBER 11 LITIGATION                                    This Document Relates to:
                                                                 All Actions


------------------------------------x

                        CONFIDENTIALITY PROTECTIVE ORDER

         In accordance with Federal Rule of Civil Procedure 26(c), the court hereby enters this

Confidentiality Protective Order governing the disclosure, handling and disposition of

"Confidential Infonnation" in this litigation as follows:

         1.     Application.

                1.1.   This Order shall govern any document, infonnation or other material that

is designated as containing "Confidential Infonnation" as defined herein, and is produced in

connection with this litigation by any person or entity (the "producing party"), whether in

response to a discovery request, subpoena or otherwise, to any other person or entity (the

"receiving party") regardless of whether the person or entity producing or receiving the

"Confidential Infonnation" is a party to this litigation. Provided, however, that disclosure,

handling and disposition of "Confidential Infonnation" produced by The Port Authority of New

York and New Jersey and World Trade Center Properties LLC to any party shall be governed by

the Confidentiality Agreement and Protective Order, dated January 9, 2004, as modified by the

Court.

         2.      Definitions.

                2.1.    Confidential Information. "Confidential Infonnation" shall mean and

 mclude. without limitation, any infonnation that concerns or relates to confidential and

 proprietary infomlation. trade secrets. other confidential technical infonnation, research or
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marketing information, financial records and analyses, agreements and business relationships,

non-public commercial, financial, pricing, budgeting and/or accounting information, non-public

information about existing and potential customers, marketing studies, performance and

projections, non-public business strategies, decisions and/or negotiations, personnel

compensation, evaluations and other employment information, and confidential proprietary

information about affiliates, parents, subsidiaries and third-parties with whom the parties to this

action have or have had business relationships.

               2.2.    Documents. As used herein, the term "documents" includes all writings,

records, files, drawings, graphs, charts, photographs, e-mails, video tapes, audio tapes, compact

discs, electronic messages, other data compilations from which information can be obtained and

other tangible things subject to production under the Federal Rules of Civil Procedure or Civil

Rule 26.3(c)(2) of this Court.

        3.     Designation.

               3.1.    Good Faith Claims. Claims of confidentiality will be made only with

respect to documents, information or other materials that the asserting party in good faith

believes are within the definition set forth in subparagraph 2.1 of this Confidentiality Protective

 Order. Objections to such claims made pursuant to paragraph 5 shall also be made in good faith.

                3.2.   Produced Documents. Copies of documents that the producing party

 believes constitute or contain Confidential Information shall be produced bearing a label or

 stamp that contains language substantially similar to the following:

                SUBJECT TO CONFIDENTIALITY PROTECTIVE ORDER
                        IN RE SEPTEMBER 11 LITIGATION
                             21 MC 97(AKH) (S.D.N.Y.)
                           DO NOT COpy OR DISCLOSE
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               3.3.    Interrogatory Answers. If a party answering an interrogatory believes

that its answer contains Confidential Information, it shall set forth that answer in a separate

document that is produced and designated as Confidential Information, in the same manner as a

produced document under subparagraph 3.2. The answers to interrogatories should make

reference to the separately produced document containing the answer, but that document should

not be attached to the interrogatories. No additional time will be given to submit interrogatory

answers that contain Confidential Information by reason of this separate submission.

                3.4.   Inspections of Documents. In the event a producing party elects to make

its documents available for inspection and the requesting party elects to inspect them, no

designation of Confidential Information needs to be made at or in advance of the inspection. For

purposes of such inspection, all material produced shall be considered Confidential Information.

If the inspecting party selects specified documents to be copied, the producing party shall

designate Confidential Information, as applicable, in accordance with subparagraph 3.2 at the

time the copies are produced. If the inspecting party selects documents to be copied that are

 stored on electronic, magnetic, optical or other non-paper media, such as compact discs, DVD's,

 video tapes and audio tapes (collectively, "data storage devices"), the producing party shall

 designate the data storage device as containing Confidential Information, by affixing a label or

 stamp to the data storage device in the manner described in subparagraph 3.2 at the time copies

 of such data storage devices are produced. If the inspecting party or other persons or entities to

 whom disclosure is authorized pursuant to subparagraph 7.1 make a copy of any data storage

 device designated by the producing party as containing Confidential Information, the inspecting

 party or other authorized person shall mark each such copy as containing Confidential

 Information in the same form as the Confidentiality notice on the original data storage device




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produced. If the inspecting party or other authorized person prints out or otherwise makes copies

of the documents or information stored on such data storage device, the inspecting party or other

authorized person shall mark each page so copied with the label or stamp specified in

subparagraph 3.2. Any document on a data storage device not designated as Confidential

Information shall not be considered to be Confidential Information.


                 3.5    Deposition Transcripts. Within twenty-one (21) days after the receipt of

a deposition transcript, a deponent, deponent's counselor a party may inform the other parties to

the action of the portions of the transcript and/or exhibits that they wish to designate as

Confidential Information. Until such time has elapsed, deposition transcripts in their entirety and

all exhibits shall be considered as containing Confidential Information consistent with the

provisions of this Order. All parties and deponents in possession of a copy of a designated

deposition transcript shall appropriately mark it as containing Confidential Information as

specified in subparagraph 3.6.

                 3.6.   Multipage Documents. For an integrated multipage document, including

 a deposition transcript and interrogatory answers, each and every page that contains Confidential

 Infomlation shall be labeled as specified in subparagraph 3.2.

        4.       Designations by Another Party.

                 4.1.   Notification of Designation. If a party other than the producing party

 believes that a producing party has produced a document that contains or constitutes Confidential

 Infomlation of the non-producing party, the non-producing party may designate the document as

 Confidential Infomlation by so notifying all parties in writing within sixty (60) days of service of

 the document.

                 4.2.   Return of Documents~ ~ondisclosure. Whene\"er a party other than the
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producing party designates a document produced by a producing party as Confidential

Information in accordance with subparagraph 4.1, each party receiving the document shall

substitute a copy of the document bearing the Confidential Information designation in

accordance with subparagraph 3.2 for each copy of the document produced by the producing

party. Each party shall destroy all copies of the undesignated document or return those copies to

the producing party, at the direction of the producing party. No party shall disclose a produced

document to any person, other than the persons authorized to receive Confidential Information

under subparagraph 7.1, until after the expiration of the sixty (60) day designation period

specified in subparagraph 4.1. If during the sixty (60) day designation period a party discloses a

produced document to a person authorized to receive Confidential Information under

subparagraph 7.1, and that document is subsequently designated as Confidential Information in

accordance with subparagraph 4.1, the disclosing party shall cause all copies of the document to

be destroyed or returned to the producing party, at the direction of the producing party. The

party may thereafter disclose a copy of the document that has been marked as Confidential

 Information by the designating party, in accordance with subparagraph 7.1.

        5.      Objections to Designations.

                5.1.   Generally. Any party objecting to a designation of Confidential

 Inforn1ation, including objections to portions of designations ofmuItipage documents, shall

 notify in writing, within one hundred twenty (120) days of service of the document designated as

 Confidential Information, the designating party and all other parties of the objection, specifically

 identifying each document that the objecting party in good faith believes should not be

 designated as Confidential Information, and providing a brief statement of the grounds for such

 belief. In accordance with the Federal Rules governing discovery disputes, the objecting and the

 designating parties thereafter shall confer within seven (7) days after the date of such objection


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in an attempt to resolve their differences. If the parties are unable to resolve their differences,

the designating party shall have fourteen (14) days after the conference concludes to file with the

court a motion to maintain the Confidential Information designation. Where a party authored,

created, owns, or controls a document, information or other material that another party

designates as Confidential Information, the party that authored, created, owns, or controls the

Confidential Information may so inform the objecting party and thereafter shall also be

considered a designating party for purposes of this subparagraph and subparagraph 5.2.

        All documents, information and other materials initially designated as Confidential

Information shall be treated as Confidential Information in accordance with this Order unless and

until the Court rules otherwise, except for deposition transcripts and exhibits initially considered

as containing Confidential Information          under subparagraph 3.5, which will lose their

confidential status after twenty-one (21) days unless so designated as Confidential Information.

        If a designating party elects not to make such a motion with respect to documents,

infom1ation or other materials to which an objection has been made, the designation shall be

deemed withdrawn. If such a motion is made, the moving party shall bear the burden of proving

 that the document,     information or other material is Confidential Information pursuant to

 subparagraph 2.1 of this Confidentiality Protective Order.

                5.2.    Near Trial. In the case of designations served within forty-two (42) days

 of trial, the receiving party shall have halfofthe remaining time before trial in which to object to

 the designation. If an objection is served within twenty-eight (28) days of trial, the designating

 party must file its motion for protective order within half of the remaining time before trial.




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       6.      Custody. All Confidential Infonnation and any and all copies, extracts and

summaries thereof, including memoranda relating thereto, shall be retained by the receiving

party in the custody of counsel of record, or by persons to whom disclosure is authorized under

subparagraph 7.1.


       7.      Handling Prior to Trial.

               7.1.   Authorized Disclosure. Confidential Infonnation may be disclosed by

the receiving party only to the following persons, and only after counsel of record for that

receiving party has obtained a written acknowledgment from the person receiving Confidential

Information, in the form attached hereto, that he or she has received a copy of this Order and has

agreed to be bound by it:

               a.      Counsel for the parties in this litigation (hereinafter "In re September 11
                       Litigation"), including their associates, clerks, paralegals, and secretarial
                       personnel;

               b.      Qualified persons taking testimony involving Confidential Information
                       and necessary stenographic, videotape and clerical personnel;

               c.      Experts and their staff who are consulted by counsel for a party in the In re
                       September 11 Litigation;

                d.     Parties to the In re September 11 Litigation, limited to the named party
                       and if that party is a corporate entity a limited number of designated
                       representatives of the corporate entity and its insurers;

                e.     Designated in-house counsel and a limited number of assistants,
                       administrative or otherwise; and

                f.     Outside vendors employed by Counsel for copying, scanning and general
                       handling of documents.

        A receiving party may also disclose Confidential Information to the court supervising the

 In re September 11 Litigation, including judicial staff, in accordance with subparagraph 7.3 of

 this Order.




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       A receIvmg party who discloses Confidential Infonnation in accordance with this

subparagraph 7.1 shall retain the written acknowledgment from each person receIvmg

Confidential Infonnation, shall maintain a list of all persons to whom a receiving party has

disclosed Confidential Infonnation, and shall furnish the written acknowledgements and

disclosure list to the Court upon its request or order.

        Disclosure and use of Confidentiallnfonnation is authorized only to the extent necessary

to investigate, evaluate, prosecute, defend or adjudicate the In re September 11 Litigation.

Before disclosing Confidential Infonnation to any authorized person who is a competitor or

potential competitor of the designating party, the disclosing party shall give at least fourteen (14)

days notice in writing to the designating party, stating the names and addresses of the person(s)

to whom the disclosure will be made, and identifying with particularity the documents to be

disclosed. If, within the fourteen (14) day period, a motion is filed objecting to the proposed

disclosure, disclosure is not authorized unless and until the Court orders otherwise.

                7.2.    Unauthorized Disclosures. If Confidential Information is disclosed other

than as authorized by this Order, the party or person responsible for the unauthorized disclosure,

and any other party or person who is subject to this Order and learns of the unauthorized

disclosure, shall immediately bring such disclosure to the attention of the producing party.

 Without prejudice to other rights and remedies of the producing party, the responsible party or

 person shall make every effort to obtain the return of the Confidential Information (including,

 without limitation, from the person to whom the unauthorized disclosure was made and from any

 other person to whom Confidential Information was directed as a direct or indirect result of the

 unauthorized disclosure) and to prevent further disclosure on its own part or on the part of any

 person to whom the unauthorized disclosure was made.




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               7.3.    Court Filings. In the event any Confidential Information must be filed

with the Court prior to the trial, and relevance can be shown with the Confidential Information

redacted from the document, that should be done. If Confidential Information is relevant, the

Court will then regulate the treatment as appropriate.

       8.      Handling After Disposition. After the conclusion of the In re September 11

Litigation, whether by way of settlement or judgment, the producing party may request that any

or all Confidential Information be returned to the producing party. The request shall specifically

identify the documents or things to be returned if return of less than all Confidential Information

is requested. The attorney for each receiving party shall collect, assemble and return within sixty

(60) all such requested Confidential Information, including all copies, extracts and summaries

thereof, including memoranda and notes relating thereto, in the possession of the receiving party,

its counsel or other authorized recipients to whom that party provided Confidential Information,

but not including copies, extracts, summaries or memoranda that contain or constitute attorney

work product. If requested by the designating party within ninety (90) days of the conclusion of

the lawsuit, all documents (i.e. copies, extracts, summaries and memoranda) which contain

attorney work product and which also contain or reference Confidential Information shall be

redacted to remove all Confidential Information and the attorney for each receiving party shall

certify in writing that all such documents have been so redacted within ninety (90) days after

 receipt of the request. Receipt of returned Confidential Information shall be acknowledged in

 writing if such an acknowledgment is requested. This Confidentiality Protective Order shall

 survive the final conclusion of the action and the Court shall have jurisdiction to enforce this

 Order beyond the conclusion of this action. All documents submitted to the Court must be

 preserved.




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       9.      No Implied Waivers. The entry of this Order shall not be interpreted as a waiver

of the right to object, under applicable law, to the furnishing of information in response to

discovery requests or to object to a requested inspection of documents or facilities. Parties

producing Confidential Information in this litigation are doing so only pursuant to the terms of

this Order. Neither the agreement to, or the taking of any action in accordance with, the

provisions of this Order, nor the failure to object thereto, shall be interpreted as a waiver of any

claim or position or defense in this action, or any other actions.


        10.    Modification. In the event any party hereto seeks a Court Order to modify the

terms of this Order, said party shall make such request pursuant to Judge Hellerstein's individual

Rule 2(E), by written stipulation or noticed motion to all parties that must be served and filed in

accordance with local court rules.


        11.     Care in Storage. Any person in possession of Confidential Information produced

by another party shall exercise reasonable and appropriate care with regard to the storage,

custody, copying, and use of the Confidential Information to ensure that the confidential and

sensitive nature of same is maintained.


        12.     No Admission. Neither this Order nor the designation of any item as

 "Confidential Information" shall be construed as an admission that such material, or any

 testimony concerning such material, would be admissible in evidence in this litigation or in any

 other proceeding.


         13.    Inadvertent Production. Nothing in this Order in any way alters the applicable

 law concerning inadvertent production of a document that the producing party believes contains

 attorney-client communications, attorney work product or otherwise privileged information.


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       14.     Parties' Own Documents. This Order shall in no way restrict the parties in their

use of their own documents and information, and nothing in this Order shall preclude any party

from voluntarily disclosing its own documents or information to any party or nonparty.


       15.     No Effect on Other Rights. This Order shall in no way abrogate or diminish any

pre-existing contractual, statutory, or other legal obligations or rights of any party with respect to

Confidential Information.


        16.    Sensitive Security Information. This Order shall not affect the handling and

disclosure requirements concerning documents that constitute or contain Sensitive Security

Information. "Sensitive Security Information" shall mean all information that is so designated

by the provisions of 49 C.F.R. Part 1520 and the United States Government which is not subject

to disclosure without the authorization of the Secretary of Transportation for Security and/or the

Transportation Security Administration ("TSA"). At an appropriate future time, a separate

protective order may be entered concerning the handling, disclosure and review of Sensitive

Security Information.


Dated: New York, New York
       March ~, 2004
                                               SO ORDERED:




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------x
                                                                21 MC 97 (AKH)
IN RE SEPTEMBER 11 LITIGATION                                   This Document Relates to:
                                                                All Actions


------------------------------------x


              DECLARATION OF                                                _



      I,                               , declare that:

       1.     My home address is                                                              _




       2.     My present employer is                                                               _

and the address of my present employment is                                                        _




       3.     I have received a copy of the Confidentiality Protective Order in this case signed

by United States District Court Judge Alvin K. Hellerstein on                     , 2004.

       4.      I have carefully read and understand the provisions of the Confidentiality

Protective Order.

       5.      I will comply with all of the provisions of the Confidentiality Protective Order.

       6.      I will hold in confidence and not disclose to anyone, other than the persons

entitled to receive such information under paragraph 7.1 of the Confidentiality Protective Order

entered in this litigation, all documents, information, and other materials designated as



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Confidential Information (including summanes, notes, abstracts, indices or copIes of such

Confidential Information) that is disclosed to me.

       7.      I will return all Confidential Information and summaries, notes, abstracts, indices

or copies of such Confidential Information, which come into my possession, and documents or

things which I have prepared relating thereto, to the attorneys for the party by whom I am

employed or retained, or to the attorney from whom I received the Confidential Information.

       8.      I understand that if I violate the provisions of this Confidentiality Protective

Order, I will be subject to sanctions by the Court to whose jurisdiction I agree to be subject, and I

also understand that the parties, or anyone of them, may assert other remedies against me.



        I declare under penalty of perjury that the foregoing is true and correct.



        Dated - - - - - - - -,2004




                                                       Printed Name




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